 Case 3:17-cv-00072-NKM-JCH Document 976 Filed 06/11/21 Page 1 of 2 Pageid#: 16312




 1       Richard Spencer
         PO Box 1676
 2       Whitefish, MT 59937

 3                                 UNITED STATES DISTRICT COURT

 4                            FOR THE WESTERN DISTRICT OF VIRGINIA

 5                                    CHARLOTTESVILLE DIVISION

 6       ELIZABETH SINES et al.,                             Case No: 3:17-cv-00072-NKM

 7       Plaintiffs

         vs.                                                 CONCURRING OPINION
 8

 9       JASON KESSLER, et al.,
         Defendants
10

11
      MOTION FOR INTER DISTRICT TRANSFER AND RESPONSE TO COURT’S
12
      REQUEST FOR BRIEFING ON TRIAL FEASIBILITY
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      On June 4, 2021, in a conference call before the Honorable Judge Moon on the feasibility of
14
      the October trial, Mr. Spencer (pro se) made his opinion clear regarding the prospect of
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      transferring the trial to Lynchburg, Virginia—he supports it. In the interest of saving the
16
      Court time and avoiding repetition, Mr. Spencer offers his endorsement of Mr. James
17
      Kolenich’s Motion for Inter District Transfer and Responses to Court’s Request for Briefing
18
      on Trial Feasibility, filed today, June 11, 2021. Mr. Spencer has read the brief and concurs
19
      with its argument.
20
                                                   The 11th June, 2021.
21

22
                                                            Richard B. Spencer, Pro Se
23

24       CONCURRING OPINION - 1

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 1                  CERTIFICATE OF SERVICE

 2   I certify that on the 11th of June, 2021, a true and correct copy of the foregoing Motion for

 3   Summary Justice was filed electronically with the Clerk of the Court, which will provide

 4   electronic notice to all counsel of record.

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 8                                                             Richard B. Spencer, Pro Se

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11
     I further hereby certify that on June 11, 2021, I also served the following non-ECF participants,
12
     via electronic mail, as follows:
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14
     Christopher Cantwell christopher.cantwell@gmail.com
15
     Robert Azzmador Ray azzmador@gmail.com
16
     Elliott Kline a/k/a Eli Mosley eli.f.mosley@gmail.com deplorabletruth@gmail.com
17
     Vanguard America c/o Dillon Hopper dillon_hopper@protonmail.com
18
     Matthew Heimbach matthew.w.heimbach@gmail.com
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24          CONCURRING OPINION - 2

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